   Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 1 of 31




                 UMTED STATES DISTR,ICT COURT
                MIDDLE DISTBICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               No.3:23-CR-26

           v.                          (Judse IVIANMON)

SAMAIVTHASMART,                        (electronically fileO
                       Defendant.

                         PLEAAGREEMENT

     The following Plea Agreement is entered by the Unitetl States

Attorney for the Midd1e District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Gover',ment in this Agreement shall mean the OfEce of the United

States Attorney for the Middle District of Penusylvania.

A ViolationG). Penalties. andDisrri$d of Other Cougts
   1.. Guiltv olea. The defendant agrees to plead guilty to Count 1 of

       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, $ 8a6(d, Conspiracy to Distribute

       Controlled Substances. The maximum penalt5r for that offense

       is imprisonment for a period of 20 yeara, a fine of 91,000,000, a

       maximum term of supervised releaee of life but a miuimum of at

       least 3 years, which shall be eerved at the conelusion of, and in
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 2 of 31




   addition to, any term of imprisonment, as well ae the costs of

   prosecution, imprieonment, probation, or supervised release

   ordered, denial ofcertain federal benefits, and an assessment in

   the amount of $100. At the time the guilty plea is entered, the

   defendant shall adnit to the Court that the defendant is, in fact,

   guilty of the offense(e) charged in that count. After sentencing,

   the United States will move for dismiseal of any remaining

   counts ofthe Indictment. The defendant agree6, however, that

   the United States may, at its sole election, reinstate any

   dismissed charges, or seek additional charges, in the event that

   any guilty plea entered or eentence imposed pursuant to this

   Agreement is subsequently vacated, set aside, or invalidated by

   any court. The defendant further agrees to waive any defenses

   to reinstatement of any charges, or to the filing of additional

   charges, based upon laches, the assertion ofspeedy trial rights,

   any applicable etatute of limitations, or any other ground. The

   calculation of time under the Speedy Trial Act for when trial

   must commence is tolled as of the date of the defendanf,s
                                2
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 3 of 31




    signing of this Ageement, until either (d the defendant pleads

    guilty; or (b) a new date is set by the Court for commencement

    oftrial.
2. Term of Suoervised Release. The defentlant understande that
    the Court must impose at leaet a 31rear term of supervised

    release but up to a lifetime of supervised release in addition to

    any term of imprisonment, fine or assessment involving this

    violation of the Controlled Substances Act. The defendant also

    understands that the Court may impose a term of eupervised

   release following any sentence of imprisonment exceeding one

   year, or when required by statute. The Court may require a

   term ofsupenrieed releaee in any othercase. In addition, the

   defendant understands that as a condition of any term of

   supervised release or probation, the Court must order that the

   defendant cooperate in the collection of a DNA sample if the

   collection of a sample is so authorized by law.

3. Maximum Sentence. The defendant understands that the total,
   maximum possible sentence for all charges is the combination of
                                3
   Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 4 of 31




       penalties described abovei that is, 20 years in prison, finee

       totaling 91,000,000, a maxirsum lifetime of supervised releaee

       but at least 3 years, the costs ofprosecution, denial ofcettain

       federal benefits and an assessment totnling 9100.

   4. No FurtherProsecution. ExceotTax Charses. The United
       States Attorney's OfEce for the Middle District of Pennsylvania

       agrees that it wiII not bring any other criminal charges against

       the defendant directly arising out ofthe defendanf,s

       involvement in the offense(s) described above. However,

       aefhing iu this Agreement wiII limit prosecution for criminal tax

       charges, ifany, arising out ofthose offenses.

B. trtileg a[d.Assessp€utg
   5. Fine. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willfirl

       failure to pay any fine imposed by the Court, in full, may be

       consideled a breach ofthis PleaAgreement. Further, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional g rnins[ violations and civil
                                   4
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 5 of 31




    penalties pursuant to Title 18, United States Code, g 8611, et

    seq.

6. Inmate Financial Responsibilitv Proqram. If the Court orders a
    fine or restitution as part ofthe defendant's sentence, and the

    sentence includes a term of imprisonment, the defendant agrees

    to voluntarily enter the United States Bureau of Prisons-

    adminietered program known ae the Inmate Financial

    Responsibility Program, through which the Bureau of Prisons

    will collect up to 50% of the defendant's prison salary, and up to

    50% ofthe balance ofthe defendant's inmate account, and apply

   that amount on the defendant's behalf to the payment of the

   outstanding ffne and restitution orders.

7. SpecialAssessment. The defendant understands that the Court
   will impose a special asseesment of $100, pursuant to the

   provisions of Title 18, United States Code, S 3013. No later

   than the date ofsentencing, the defendant or defendant's

   counsel shall mail a check in payment of the special assessment

   directly to the Clerk, United States District Court, Middle
                                5
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 6 of 31




    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

8. Collection ofFinancial Obligations. In order to facilitate the
    collection of financial obligations impoeed in connection with

    this case, the defendant consents and agrees:

    a.   to fully disclose all assete in which the defeudant has an

         interest or over which the defendant has control, directly or

         indirectly, including thoee held by a spouse, p6minee, or

         other third partyi

    b. to submit to interrriews by the Government regarding the
         defendant's financial statusi

    c.   to eubmit a complete, accurate, and truthftrl financial

         statement, on the form provided by the Governmeut, to the

         United States Attorney's Offi.ce no later than 14 days

         following entry of the guilty plea;



                                  6
   Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 7 of 31




       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial status;

       e. to authorize the Government to obtain the defendanf,e
           credit reports in order to evaluate the defendant s ability to

           satisfu any financial obligations imposed by the Courti and

       f. to eubmit any financial information requested by the
           Probation Offrce as directed, and to the sharing offinancial

           information between the Government and the Probation

           Office.

C. Sentencirg Guidelines Calsulatiou
   9. Determination of Sentencine Guidelines. The defendant and
       counsel for both partiea agree that the United States Sentencing

       Comrnission Guidelines, which took effect on November 1, 1982,

       and its amendments Ghe "Sentencing Guideli.ues"), will apply to

       the offense or offlenees to which the defendant is pleading guilty.
                                    7
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 8 of 31




    The defendant underetands that the Sentencing Guidelines are

    advisory and not binding on the Court. The defendant further

    agrees that any legal and factual issues relating to the

    application of the Sentencing Guidelines to the defendant's

    conduct, including facts to support any specif.c offense

    characterietic or other enhancement or ailjustment and the

    appropriate sentence within the statutory maximums provided

    for by law, will be determined by the Court after briefing, a pre-

    sentence hearing, or a sentencing hearing.

10. Acceotance of Reeponeibilitv- Two/Ihree Levels. If the

    defendant can adequately demonstrate recognition and

    af6rmative acceptance of responsibility to the Government as

    required by the Sentencing Guidelines, the Government will

    recommend that the defentlant receive a two- or three-level

   reduction in the defendant's offense level for acceptauce of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. $ 8E1.1. The



                                8
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 9 of 31




    failue of the Court to frnd that the defendant ie entitled to a
    reduction shall not be a basis to void this Agreement.

11. Speeific Sentencine Guialelines Recommendations. With respect

    to the application of the Sentencing Guidelines to the

    defendant's conduct, the parties agree to recommend as follows:

       a. For pu4loees of the U.S.$.G., the parties agree
          thatthe de&ndant is reaponsible for the
          dietribution {, and poseeesion with iDtert to
          diehibute, at leaet 160 gramr but lees than 280
          grans of frntanyl, a Schoalulo II conholled
          substa[ce.

       b. The parties agee to joint$ recoumend to the court
          that ths BoDtenos impoeed here be orderei[ to nrn
          concunentlSr with any eeotence imposed against ths
          defendant in two Luzerae County casee docleted at
          CP'40'CR-86 60'2022 aDd CP-4O-CR- g65L-2O22.

   Each party reserves the right to make whatever remaining

   arguments it deems appropriate with regard to application of

   the United Statee Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that any

   recommendations are not binding upon either the Court or the

   United Statee Probation Office, which may make different

                                I
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 10 of 31




      findings as to the application of the Sentencing Guidelines to

      the defendant'e eonduct. The defendant further underetands

      that the United States will provide the Court and the United

      Statee Probation Office all information in its possession that it

      deems relevant to the application of the Sentencing Guidelines

      to the defendant's conduct.

 12. Aporopriate Sentence Recommendation. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offenee, and specifically resewes the right to recommend a

      sentence up to and including the maximum sentence of

    imprisonment and fine allowable, together with the cost of

    prosecution.

t3.                                                         If
    probation or a term ofsupervised release is ordered, the United

    States may recommend that the Court impose one or more

    epecial conditions, including but not limited to the following:
                                    10
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 11 of 31




     a   The defendant be prohibited from possessing a firearm or

         other dangerous weapon.

    b. The defendant make restitution, if applicable, the payment
         of which shall be in accordance with a schedule to be

         determined by the Court.

    c.   The defendant pay any fine imposed in aceordance with a

         schedule to be determined by the Court.

    d. The defendant be prohibited from incurring new credit
         charges or opening additional linee ofcredit without

         approval ofthe Probation OfEce unless the defendant is in

         compliance with the payment echedule.

    e    The defendant be directed to provide the Probation OfEce

         and the United States Attorney accees to any requested

         financial information.

    f. The tlefendant be confined in a community treatment
         center, halfoay house, or similar facility.

    g. The defendant be placed under home confinement.
    h. The defendant be ordered to perform community seryice.
                                  11
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 12 of 31




     i. The defendant be restricted from working in certain types of
        occupations or with certain infividuals if the Government

        deeme euch restrictions to be appropriate.

    j. The defendant be directed to attend substane abuse
        counseling, which may include testing 1q dsfssmins whether

        the defendant is using drugs or alcohol.

     k. The defendant be directed to attend psychiatric or
        psychological squngsling and treatment in a program

        approved by the Probation Officer.

    1. The defendant be denied certain federal benefits including
        contracts, grants, loans, fellowships, and licenses.

    m. The defendant be directed to pay any state or federal taxee

        and file any and all state and federal tax returng as

        required by law.

 14. Destruction Order/Waivers. The defendant further agrees,

    should the United States deem it appropriate to the destruction

    of the items seized during the course of the investigation. The

    defendant agrees that the items may be destroyed by the
                                t2
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 13 of 31




     investigative agency with or without a court order authorizing

     the destruction of the items seized. If the United States

     dsteyminsg that a destruction order should be obtained, the

     defendant and defendant's counsel hereby concur in a motion for

    such an order. The defendant further agrees to waive all

    interest in the assete in any administrative or judicial forfeiture

    proceeding, whether criminal or civil, state, orfederal. The

    defendant consents and waives all rights to compliance by the

    United States with any applicable deadlines under lg U.S.C. $

    983(d. Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to coneent to the

    entry of orders of forfeiture for euch property and waives the

    requirements of Federal Rules of Criminal Proedure BZ.2 and.

    43(d regarding notice ofthe forfeiture in the charging

    i-nstrument, announcement of the forfeiture at sentencing, and

    incorporation offorfeiture in the judgment.




                                13
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 14 of 31




D. Victims'Rights apd Rostitution
   15. Victims'Riehts. The defendant understande that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Juetice for All Act, and the regulations

       promulgated under those Acts by the Attorney General ofthe

       United States, crime victims have the following rights:

       a. The right to be reasonably protected from the accused;
       b. The right to reasonable, accurate, and timely notice ofany
          public court proceeding or any parole proceeding involving

          the crime, or of any release or escape of the accused;

       c. The right not to be excluded ftom any such public court
          proceeding, unless the Court, after receiving clear and

          convincing evidence, determines that testimony by the

          victim would be altered materially if the victim heard other

          testimony at that proceedingi

       d. The right to be reasonably heard at any public hearing in
          the Court involvilg release, plea, sentencing, or any parole

          proceeding. The defendant understands that the victims'
                                   t4
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 15 of 31




         comments and recommendations at any of these proceedings

         may be different than those of the parties to this

        Agreementi

     e. The teasonable right to confer with the attorney for the
        Government in the case. The defendant understands that

        the victims' opinisl6 and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence ofthis

        Agreementi

    f. The right to full and timely restitution as provided for by
        law. The attorney for the Government is required to "fully

        advocate the righte of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the Court is authorized to

        order restitution by the defendant includi.g, but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

    g. The right to proceedings free from unreasonable delayi and
                                15
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 16 of 31




         h. The right to be treated with fairness and with respect for
             the victim's di1rty and privacy.

   16.            tion. The defendant acknowle dges that, pursuant to the

         M an     tory Restitution Act of April24, 1.996, Title 18, United

         States       de, $ 36634, the Court is required in all instances to

         order full      titution to all yictims for the losses those victims

         have suffered       a result ofthe defendant's conduct. The

         defendant also a        s that the Government will seek, and the

         Court may impose an          er of restitution as to victims of the

         defendant's relevant con         . With respect to the payment of
         restitution, the defendant           r agrees that, as part of the

         sentence in this matter, the defe      ant shall be responsible for

         making payment of restitution in           unless the defendant can

         demonstrate to the satisfaction of the C       rt that the defendant's

         economic circumstances do not allow for the ayment of full

         restitution in the foreseeable future, in which          the

         defendant will be required to make partial restituti

         payments. In addition to the schedule of payments th at                be
                                        16                                     0s\
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 17 of 31




     e   t ablished by the Court, the defendant understands and agrees
     tha pursuant to the Mandatory Victims Restitution Act of

     1996      d the Justice For All Act of 2004, victims of federal

     CI'IMCS      entitled to full and timely restitution. As such, these

     payments       not preclude the Government from using other

     assets or in     e of the defendant to satisfu the restitution

    obligation. Th defendant understands and agrees that the

    United States A       rney's Office, by and through the Financial

    Litigation Unit, ha th e obligation and the right to pursue any

    legal means, includin but not limited to, submission of the debt

    to the Treasury Offset        gram, to collect the full amount of

    restitution owed to the vi           s in a timely fashion. Although

    the defendant may reserve             right to contest the amount of

    restitution owed, the defendan           grees to take all steps to

    facilitate collection of all restituti     , including submitting to

    debtor's exams as directed by the G          ernment. Towards this

    goal, the defendant agrees to waive an further notice of

    forfeiture and agrees that the United St           s may, at its sole
                                   1.7
                                                         (p
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 18 of 31




    e   ction, elect to pursue civi-l or criminal forfeiture in the

    am    nt ofthe victim restitution owed in this case, and the

    Court     ay enter both a restitution order and a forfeiture

    judgmen in the amount of a ny unpaid restitution found by the

    Court to be ue and owing at the time of sentencin g in this

    matter. The d     en dant consents to the filing ofany civil

    complaint or sup     S   eding information which may be necessary

    to perfect a forfeitu     order and further stipulates and agrees

    that the defendant's g       ty plea constitutes an admission to all

    matters legally and factu       y necessary for entry of a forfeiture

    order in this case. The parti       agree that the Government rvill

    recommend, but cannot guaran t e , that any assets recovered

    through forfeiture proceedings be       mitted to crime victims to

    reduce the defendant's restitution ob       ation in this case. The

    defend ant acknowledges that the makin of any payments does

    not preclude the Government from using o t er assets or income

    ofthe defendant to satisfu the restitution obli      tion. The
    defendant understands that the amount ofrestit It ott
                                   18                         CIN
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 19 of 31




       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes ofChapter 2 ofthe Sentencing Guidelines.

    17. Full           ion b Sched      . The defendant agrees to make
       full restituti onlna          nce with a schedule to be determined

       by the Court.                          lrk\

E. Information Provided to Court and Probation Office
   18. B a c    und Informati on for Probation Office . The defendant

       understands that the United States rvill provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   19. Obiection sto Pre'Sentence Renort . The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicate to the

       Probation Officer rvithin 14 days afler disclosure ofthe pre-
                                      19
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 20 of 31




    sentence report any objections they may have as to material

    information, sentencing claseifications, applicable Sentencing

    Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    United Statee at least five days prior to senteucing in a good

    faith attempt to resolve any substantive differences. Ifany

    iesues rpmain unresolved, they shall be communicated to the

    Probation Officer for inclusion in an addendum to the pre-

    sentence report. The defendant agrees that unresolved

    substantive objections will be decided by the Court, after

    briefing, a pre'sentence hearing, or at the sentencing hearing,

    where the standard or proof will be a preponderance of the

    evidence, and the Federal Rulee ofEvidence, other than with

    respect to privilegee, shall not apply under Fed. R. Evid.

    1101(d)(3), and the Court may consid.er any reliable evid.ence,

    including heareay. Objections by the defendant to the pre-

    sentence report or the Courts rulings, will not be grounds for

    withdrawal of a plea of guilty.
                                20
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 21 of 31




 20. Relevant Sentencine lnformation. At seutencing, the United

     States will be permitted to bring to the Court's attention, and.

     the Court wiil be permitted to consider, all relevant information

     about the defendant's background, character and conduct,

     including the conduet that is the subject ofthe charges that the

     United States has agreed to dismiss, and the nature and extent

     of the defendant'e cooperation, if any. The United States will be

     entitled to bring to the Court's attention and the Court will be

     entitled to consider any failure by the defendant to fulffll any

     obligation under this Agreement.

 21. Non'Limitation on Government's Response. Nothing in this

    Agreement ehall restrict or limit the nature or content of the

     United States'motions or responses to any motions frled on

    behalf of the defendant. Nor does this Agreement in any way

  . restrict the Government in responding to any request by the
    Court for briefing, argument or presentation ofevidence

    regarding the application ofSentencing Guidelines to the



                                 27
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 22 of 31




      defendant'g conduct, l.ngluding but not limited to, requests for

      information concerning possible Bentencing departures.

F. Court Not Boundby PleaAgreement
   22. Court NotBound bv Terms. The defendant underetands that

      the Court is not a party to anil is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of 91,000,000, a ma:dmum term of supervised

      release oflife but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      coets of proseeution, denial of certain federal benefits, and

      assessments totaling 9100.

   23. No Withdrawal of Plea Based on Sentence or Recommendations.

      If the Court imposes a sentence with whieh the defendant is

      dissatisfied, the tlefendant will not be permitted to withd.raw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
                                   22
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 23 of 31




       to follow any recommendations by any of the parties to this

      Agreement.

G. Breach of PIea A$sement bv Defrada*
   24. Breach of Agreement. In the event the United States believee

      the defendant has failed to fulJill any obligation under this

      Agreement, then the United States shall, in its discretion, have

      the option of petitioni"g the Court to be relieved of its

      obligations under this Agreement. Whether the defendant has

      completely fulfilled all of the obligations under this Agreement

      shall be determined by the Court in an appropriate proceeding,

      during which any disclosuree and documents provided by the

      defendant shall be admiseible, and during which the United

      States shall be required to establish any breach by a

      preponderance of the evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any.



                                  29
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 24 of 31




 25. Remedies for Breach. The defendant and the United States

    agtee that in the event the Court concludes that the defendant

    has breached the Agreement:

    a. The defendant will not be permitted to withdraw any guilty
        plea tendered under thie Agreement and agrees not to

        petition for withdrawal of any guilty pleai

    b. The United States will be free to make any
        recommendations to the Court regarding sentencing in this

        casei

    c. Any evidence or statements made by the defendaat during
        the cooperation phase of this Ageement, if any, will be

        admissible at any trials or eentenciagsi

    d. The United States will be free to bring any other charges it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defenee to the

        reinstatement of these charges based upon collateral
                               24
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 25 of 31




        estoppel, Double Jeopardy, etatute of limitations, aseertion

        of Speedy Trial rights, or other similar gmunds.

 26. Violation of Law While Plea or Sentence PendinE. The

    defendant understands that it ie a condition of this Agreement

    that the defendant refrain from any further violations of state,

    Ioeal, or federal law while awaiting plea and sentencing. The

    defendant acknowledges and agreee that ifthe Government

    receives information that the defendant hae committed new

    crimes while awaiting plea or sentencing in this case, the

    Government may petition the Court and, if the Court finds by a

    preponderance ofthe evidence that the defendant has

    committed any other sdminal offense while awaiting plea or

    sentencing, the Government ehall be free at its sole election to

    either: (a) withdraw from this Agreementi or (b) make auy

    sentencing recommendations to the Court that it deeme

    appropriate. The defendant further understands and agrees

    that, if the Court finds that the defendalt has committed any

    other offense while awaiting plea or sentencing, the defendant
                               26
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 26 of 31




        rvill not be permitted to rvithdraw any guilty pleas tendered

        pursuant to this Agreement, and the government will be

        permitted to bring any additional charges that it may have

        against the defendant.

H. Deportation
   27. Deoorta           Il1ov al fro m the   II   ds ta tes . The defendant
        understands that, ifdefendant is not a United States citizen,

        deportation/removal from the United States is a consequence of

        this plea. The defendant further agrees that this matter has

        been discussed with counsel who has explained the immigration

        consequences of this plea. The defendant still desires to enter

        into this plea after having been so advised.

I. Appeal Waiver
   28       e        e            . The defendant is aware that Title 28,
        United States Code       I 291 affords a defendant the right to
        appeal a judgment of co                and sentencei and that Title 18,

        United States Code, g 3742(a)              s a defendant the right to

        appeal the sentence imposed. Acknorv                 all ofthis. the
                                      26
                                                             ($\
  Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 27 of 31




         defend ant      ovr.ingly waives the right to appeal the conviction

         and sentence.      his waiver includes any and all possible

         grounds for appe      whether constitutional or non-

         constitutional, inclu ng, but not limited to, the manner in

         rvhich that sentence rva     etermined in light of United States v.

         Booker,543 U.S. 220 $OOS           The defendant further

         acknorvledges that this appeal        iver is binding only upon the

         defendant and that the United Sta t s retains its right to appeal

         in this case.                              6i\
J. Other Provisiopg
   29. Agreement Not Bindins on Other Aeencies. Nothing in this

         Agreement shall bind any other.United States Attorney's Office,

         state prosecutor's office, or federal, state, or local larv

         enforcement agency.

   30.    o Civil Claim    o        . The defendant agrees not to pursue or
         initiate any civil claims or suits against the United States of

         America, its agencies or employees, whether or not presently

         known to the defendant, arising out ofthe investigation,
                                       27
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 28 of 31




    prosecution or cooperation, if any, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out of the investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken i.u good faith,

    had a substantial basis in law and fact and was not vexatious.

31. Plea AEreement Serves Ende of Justice. The United States is

    entering this Agreement with the defendant because this

    disposition of the matter fairly and adequately addresees the

    gravity of the offense(e) from which the charge(s) is/are drawn,

    as well as the defendant'e role in euch offense(e), thereby

    serving the endg ofjustice.

32. Mereer of AU Prior Neeotiatione. Thie documeut states the

    complete and only Agreement between the United States

    Attorney for the Middle Dietrict of pennsylvania and the

    defendant in this case, and is binding only on the parties to this

    Agreement and supersedes all prior roflslslsn.tings or plea
                                  28
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 29 of 31




     offers, whether written or oral. This agreement cannot be

     modiffed other than in writing that is signed by all parties or on

     the record in court. No other promises or inducemeots have

     been or will be made to the defendant in connection with this

     case, nor have any predictions or threats been made in

    connection with this plea. Pursuant to Rule 11 ofthe Federal

    Ru]es of Criminal Procedure, the defendant certifies that the

     defendant's plea is knowiag and voluntary and is not the result

    of force or threats or promises apart from those promises set

    forth in this Agreement.

 33. Defendant is Satisfied with Assistance of Counsel. The

    Defendant agrees that the defendant has diecussed this case

    and this Agreement in detail with the defendant's attorney, who

    hae advised the defendant ofthe defendant's Constitutional and

    other trial and appellate rights, the nature ofthe charges, the

    elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

    trial, possible defenses, the advisory Sentencing Guidelines and
                                29
Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 30 of 31




     other aspects of sentencing, potential lossee of civil rights and

     privileges, and other potential cpnaequences ofpleading guilty

     in this case. The defendant agrees that the defendant is

     satisfied with the legal services and advice provided to the

     defendant by the defendant's attorney.

 34. Deadline for Acceptance of Plea Aereement. The origiaal of this

    Agreement muet be signed by the defendant and defense

    counsel and received by the United States Attoraey's Office on

    or before 5:00 p.m., September 8,2029, otherwise the offer may,

    in the sole discretion of the Government, be deemed withdrawn.

 35. Beouired Sisnatures. None of the terms of this Agreement shall

    be binding on the OfEce of the United States Attorney for the

    Middle District of Pennsylvqnia until sigrred by the defendant

    and defense counsel and then signed by the United States

    Attorney or his designee.




                                30
      Case 3:23-cr-00026-MEM Document 287 Filed 10/02/23 Page 31 of 31




                                          ACKNOWLED GMENIS

      I have read this agreement and carefully reviewed every palt of it
rvith my attorney. I fully understand it and I volunta rily agree to it.


  7          L @27
Date
                                                  Defendant


         I am the defendant's counsel. I have carefully revierved every part
of this agreement rvith the defendant. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntaty one.

        ')         13
D                                                 ELLIO SMITH, ESQUIRE
                                                  Counsel for Defendant




                                                  GERARD M. KARAM
                                                  United States Attorney


                      L3                    By:         //
Date                                                CHELLE LSHEFS
                                                  Assistant United States Attorney

-.1US,\AttO/r023R089 -{uFust :lG. r0!:}
\ERSION D..I,TE: lla$h 8, 2021




                                                   31
